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 MEETING NOTES
 MEETING FOCUS:     CSSP ADMINISTRATIVE BUDGET MEETING
 MEETING DATE:      AUGUST 14, 2013 10:00 AM CST
 ATTENDEES:
      Name                            Company                            DHECC
      Maria Travis                    BP                                 David Odom
      Todd Brents                     Alix Partners                      Kirk Fisher
      Amy Boatman                     KPMG                               Bob Levine
      Gary Jackson                    BP                                 Philip Ollendike
      Keith Moskowitz                 SNR Denton
      Ramji Kaul                      SNR Denton
      Tommy Thomassie                 Domengeaux, Wright, Roy, &
                                      Edwards



Utilization Model Changes
 The Claims Administrator’s Office (CAO) is attempting to break out certain functions to a granular
     level in order to achieve greater detail in the budget model.
 Model Changes in Progress
      Revaluation of claim processing times to incorporate accurate weighted average review times
         for the following additional determination notices:
          Eligible;
          Incompleteness Denial;
          Opt Out/Duplicate/Withdrawn;
          Denied/Suspended/Closed/Closure.
      Incorporation of analyzed trends to project the following costs:
          Vendor expenses;
          Appeals panelist fees;
          Wetlands title firm fees;
          Subsistence specific vendor costs.
      The largest expense of the Program is the labor expense associated with claim reviewers.
          Our current state model looks at the system from a wide overview.
              (1) Expenses are currently a static function within the model because the CAO does not
                  presently have access to all data necessary to project these costs.
              (2) Management functions are being distributed on a pro rata basis because the vendors do
                  not at the moment prepare invoices with highly detailed information regarding the
                  specific task being worked on.




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 MEETING NOTES (CONTINUED)
Vendor Requests for Information
 Given the time constraints on the budget model revision process set forth by the Court, BP and the
   CAO have agreed to focus efforts on current RFIs related to the budget. Non-budget related
   information will merely receive a lower priority until the revision of the budget model is complete.
 Budget Related RFIs
    Detailed Organizational Charts
        These will be provided broken down by function, task, and claim type for each of the
           Vendors. These charts will be coded by job performed so that they will tie to the invoices.
    Out of Pocket Costs for Hiring and Training
        The format of this report has not yet been determined.
        This information will be a data driver in the future but will not be incorporated into the
           fourth quarter budget submitted on Friday, August 16, 2013, because Vendors will not be
           able to provide this information immediately.
    Retraining Costs Due to Turnover
        Similarly to the last point, the CAO is unable to attain this information from the Vendors
           immediately. For this reason, retraining costs due to turnover will not be incorporated into
           the Fourth Quarter Budget submitted on Friday, August 16. However, going forward, the
           CAO will be able to attain this information from the Vendors and incorporate it in the
           budget forecast model.
    Modified Vendor Invoices
        Similar to the Detailed Organizational Charts, these will be broken down by Vendor,
           location, and task.
        Some concern was expressed about the Claimant Assistance Centers (CACs), specifically the
           cross training of reviewers.
           (1) Once the employee time card system and invoicing are adapted to include this level of
                detail, the increased level of detail on CAC task hours will be incorporated into the
                budget forecast model.
           (2) It is not anticipated that this level of detail will be achieved for the fourth quarter
                budget. The CAO will, however, be able to put the CAC employees in buckets for the
                purposes of creating the August budget.
 Process Related RFIs
    It was again reiterated that these are indeed priority items for the CAO. However, given the
       time constraints surrounding the budget forecast model revisions, these will be given a lower
       priority than budget-related RFIs until the budget model revisions are complete.
    Turnover Rates for DWH
        As previously mentioned, the CAO is unable to attain information related to Turnover from
           the Vendors immediately. Further, since this information is not directly budget-related, BP
           and the CAO agreed that it should be temporarily given a lower priority until the budget
           model revision process is complete.
    Volume of Claims Reviewed by SIT


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 MEETING NOTES (CONTINUED)
             This was recognized as an open-ended item. Since this information is not directly budget-
              related, BP and the CAO agreed that it should be temporarily given a lower priority until the
              budget model revision process is complete.
         Detailed QA Thresholds
           This was recognized as an open-ended item. Since this information is not directly budget-
              related, BP and the CAO agreed that it should be temporarily given a lower priority until the
              budget model revision process is complete.
         Projected Staffing and Rate Changes
           This is generally considered static because the rates charged by the Vendors are established
              in the Vendor contracts.
         Data Dictionary
           This request is being escalated through the Claims Administrator’s Office.
           It will initially only consist of a list of the data fields that the CAO tracks. It will not initially
              include the actual data corresponding to those data fields.
           According to BrownGreer, producing this data dictionary will take approximately three
              weeks. Since this information is not directly budget-related, BP and the CAO agreed that it
              should be temporarily given a lower priority until the budget model revision process is
              complete.

Budget Methodology
 Budget Forecast
    The budget forecast model is based off the Utilization Modeling, developed to determine the
       system capacity necessary to prevent the backlog from growing any further. System capacity
       required is based on the anticipated volume of claims filed for a particular month in addition to
       the backlog beginning that month.
    The forecast model sums Modeled Reviewer Costs (which consist of static processes) and
       Expenses to reach a Forecast Cost for each Vendor. A contingency cost is then added to this
       Forecast Cost figure to reach a Budget Forecast for each Vendor.
        Reviewer costs are derived from the reviewer Utilization Model.
        Costs for static Vendor processes are the previous month’s actual costs.
        Vendor expense cost is calculated as an average percentage of Vendor labor cost.
           (1) Expenses are based on historic figures.
        A five percent contingency is factored into the total forecast cost.
           (1) The former budget did not contain a contingency. However, the CAO wanted to make
               sure it modeled a sufficient budget given the assumptions required considering the time
               constraints and data limitations on this process.
 Basic examples of the anticipated budget methodology for each Vendor were illustrated for BP.
    BrownGreer
        Reviewer costs have been smoothed with non-reviewer costs.
        The static processes (CAC and Subsistence Interviewers) will be continually analyzed and
           eventually become more easily predictable with additional data.
        Expenses for BrownGreer will be forecast based on historic averages.
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 MEETING NOTES (CONTINUED)
         Garden City Group
           The Sarasota call center has been closed, which has led to a significant decrease in costs.
           Expenses for Garden City Group will be forecast based on historic averages.
              (1) These figures seemed somewhat high to BP; however, these expenses were covered in
                  more detail later in the meeting.
              (2) Mention was made of the CliftonLarsenAllen audit recommendation of increased fire
                  suppression at the Dublin Ohio Center. The pass through cost on these expenses will be
                  investigated by the CAO to determine what percentage of these costs is directly
                  attributable to the Settlement Program.
           The contingency cost built in for Garden City Group is likely somewhat of an overestimation
              as Garden City Group arguably has less volatility.
         Postlethwaite & Netterville
           The same methodology for the previous Vendor budgets was used for Postlethwaite &
              Netterville’s budget forecast.
           The budget forecasts of the Accounting Firms present interesting challenges because
              accounting review is an offline function not tracked by the BrownGreer timestamp system.
              (1) We do not currently have the exact on-task time figures for accounting review. The CAO
                  will make assumptions for this information. These assumptions will be fine-tuned until
                  actual data is available.
         PricewaterhouseCoopers
           The same methodology for the previous Vendor budgets was used for PwC’s budget
              forecast. Additionally, the same offline task challenges experienced with P&N are present
              with PwC. The on-task time data is not currently available. Assumptions will be made until
              accurate actual data can be used in the forecast model.

Agreement on Framework
 The CAO established that the structure of this budget is merely anticipatory and not final. The CAO
   envisions a progressively expanding methodology based on a forecast of claims basis, an eligibility
   basis, etc.
    The CAO believes that this structure is in alignment with what BP desires from the budget
       forecast. However, as the forecast model evolves and additional data becomes available, the
       model will become much more granular and detailed with respect to costs.
 BP agreed that this is in the vicinity of the framework BP had in mind.
    BP agreed with the CAO that the use of a modeled number of determinations to create the
       budget was the best approach to forecast the budget.
        This is why the task utilization rate and the system’s capabilities are essential.
    BP also expressed a desire that the CAO compare actual Program costs to the budget forecast
       costs to develop a variance analysis.
        Further, the CAO wishes to maintain neutrality in this process, remaining focused on steady
            throughput of claims processing to prevent the increase of claim backlog. The CAO will put
            forth as accurate a budget as possible while remaining focused on combatting claim backlog.

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    MEETING NOTES (CONTINUED)
      The CAO anticipates submitting to the Parties and the Court a budget package like the one discussed
       in this meeting. This budget package will include summary sheets that correlate costs based on
       projections over time. In addition to these summary sheets, the raw data used to produce these
       budget results will be provided. Further, an operational narrative will be provided. Lastly,
       information on assumptions made by the Program will be included in this package.
      The CAO would also be open to dialog with BP in the future to discuss one off expenses.

Questions and Discussion
 The CAO has attempted to measure the amount of determinations being produced.
 The CAO has normalized the task utilization rate, using the BEL specific rate, essentially lowering the
   task utilization rate from 87% to 75%. This task utilization rate is currently an assumption until the
   CAO has information on the true off-line rate.
    A task utilization rate of 75% does not mean that 25% of the time no work is being done. It
       means that 25% of the time, there are other off-line activities associated with the processing of
       claims, such as waiting for screen loads, passing off a claim to another reviewer, downloading
       documents, etc.
    The offline review tasks and the associated times used for purposes of the budget forecast
       model have been derived from detailed conversations with the Vendors.
    BP and the CAO agreed that this task utilization rate is information that could be included in the
       quarterly budget reports.
 BP asked whether the CAC and CCC items for BG are included in the labor cost model.
    These are included but they are static costs. As additional data is acquired on the function level
       for the CACs, the costs for the CACs will be parsed out on the functional level.
    There was some discussion about extrapolating CAC costs based on total hours and number of
       CAC visits. The model basically already does this; however, the CAO expressed the desire to
       proceed cautiously with this tactic so as to not over-project by basing the extrapolation on a
       time period with an inordinate number of CAC visits.
    The main issue is that the information is not currently broken down at the task level because the
       reviewers at the CACs are cross trained on various tasks. Once the CAO has this information,
       number of visits will be the best way to track it.
        BP expressed a desire to see some sort of extrapolation supporting the labor hours of the
            CAC reviewers.
 For the subsistence budget forecast, the amount includes reviewers and interviewers; however, it
   does not include any field visits in this figure as field visits are handled by another Vendor.
    The amount of time a subsistence review takes is based on data received from BrownGreer.
    No information has been maintained on how long subsistence interviews take.
        The CAO has information on how many notices are issued, but no information is available on
            the number of claims that will be processed on a per hour basis.
            (1) BP expressed an interest in attaining this level of detail in information. The CAO stated
                 it does not currently have a time in motion study of this data, but will attempt to gather
                 more information to evaluate the system input.

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    MEETING NOTES (CONTINUED)
           Since no subsistence notices are being issued while policy is pending, the data used in this
            budget forecast is somewhat skewed currently. Once this hold is lifted, actual data will be
            available to be plugged into the budget forecast.
      BP desired to see a breakout of the IT costs incorporated into the model.
        These costs are made up of system upkeep, development of new capabilities, and process
            enhancement; however, the breakout of the IT costs in terms of these sub functions is not data
            that the CAO currently maintains.
             This is a reasonable way to incorporate this data and will be incorporated into the budget
                forecast as the information becomes available.
      BP asked about costs seemingly excluded from the GCG budget forecast model.
        This is the result of similar cost groupings that were made. BP requested more detail on these
            cost groupings and the detailed data behind them, specifically regarding document intake, data
            entry, release processing, handling claimant correspondence, call volume, and file audit review.
      BP asked about the analysis that will be done to compare actual and modeled results for each
       month.
        The actual hours will represent the amount of time it actually took to perform a particular task;
            the modeled hours will represent the time the CAO thinks the amount of work for that
            particular task should take based on the model’s assumptions.
        The CAO will identify the existence of a variance on a monthly basis if any variance exists, but,
            because of its sole role in an oversight capacity, the CAO will not take actions to cure the cause
            of a variance.
             The CAO would be open to a monthly discussion with the Vendors as to the cause of a
                particular variance. However, the CAO does not currently believe that the addressing of the
                cause of a variance falls within the ambit of the CAO’s responsibility, given the CAO’s strict
                oversight role. Rather, the cause of a particular variance would be left to the respective
                Vendor itself to address.
      BP questioned some high data capture hourly figures for IEL as compared to BEL. For IEL, these are
       attributable to the general tediousness of the job function, particularly entering hundreds of
       paystub figures from hundreds of individually different pay stubs. Additionally, the work associated
       with IEL is specific to BrownGreer, whereas the work associated with BEL is spread out over several
       different Vendors.
      Notice and Payment Data does not come from public reports. Duplicates are removed, so the
       figures in the Notice and Payment Data will not match public report figures exactly.
      BP expressed interest in acquiring the entire model in an unlocked version.
        Neither BP nor the PSC expressed any real reason to object to providing the entire model.
        Additionally, the CAO believes this would help streamline the efficiency of the budget revision
            process. The CAO will determine if the distribution of this information to the Parties is
            permitted by the Settlement Agreement.

Communications over the Next Seventy-Two Hours
 It is preferred by BP and the CAO that the communication process remains open and informal so as
   to keep the revision of the budget as transparent and collaborative as possible.

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    MEETING NOTES (CONTINUED)
          This will allow BP to better understand the process of the CAO in revising the budget forecast
           model.
        All questions that the CAO has for BP or that BP has for the CAO will be routed through the
           Plaintiffs’ Steering Committee and Keith Moskowitz.
      Items that Will Be Provided by Friday
        As no objections were made to the framework of the modeled budget, the CAO will provide the
           forecasted budget on Friday, August 16 as presented to BP and the PSC at this meeting.
            This will include supporting documentation with amended utilization modeling.
            Additional information broken down at a more detailed level will be provided to the extent
               the information is currently available to the CAO. Any assumptions made in lieu of
               unavailable data will be noted.
               (1) The main areas in which additional information was requested involve CAC staffing
                    levels, costs of GCG job functions, and IT costs.
            In preparing its fourth quarter budget, the CAO will be preparing a revised third quarter
               budget as well. BP noted its objection to the CAO’s proposed third quarter budget but
               requested to see a revised third quarter budget if one is prepared by the CAO.
               (1) The CAO will provide the six months covering quarters three and four of budget
                    forecasts to BP.
            Regarding turnover rates and the other process related information, the CAO is requesting
               this information from Vendors. However, it will receive a lower priority until the budget
               forecast model revisions are complete.
            In requesting the data fields from the data dictionary, the CAO recommended to BP that it
               go through the proper channels to gain access to this. This will ensure that the PSC has no
               objections given the possible existence of Personally Identifiable Information in these data
               fields. Upon the completion of the process, the CAO will provide all information agreed to
               by BP and the PSC.
      It was decided that the continual and ongoing dialog between BP and the CAO has been very
       beneficial. Pursuant to this, a meeting has been scheduled for next Wednesday, August 21, 2013, at
       10:00 AM, at the CSSP Office in New Orleans.

Please distribute internally as appropriate.




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    MEETING NOTES


    MEETING FOCUS:    CSSP ADMINISTRATIVE BUDGET MEETING
    MEETING DATE:     AUGUST 21, 2013 10:00 AM CST
    ATTENDEES:
        Name                            Company                            DHECC

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        Brad Spooner                    Alix Partners                      Henry Mitchell
        Ramji Kaul                      SNR Denton                         Patrick Hron
        John Creevy                     Herman, Herman, & Katz
        Tommy Thomassie                 Domengeaux, Wright, Roy, &
                                        Edwards



Reviewer Model-Specific Questions
     Meter Charts
       The Meter Charts are real time measurements of system capacity over a period of time, usually
         a month. The spread between system capacity and actual notifications produced is identified as
         an opportunity for improvement.
       Questions raised by BP and its representatives related mostly to why BEL and IEL targeted and
         actual numbers have decreased as compared to the Meter Charts from the August 14 meeting.
       BEL Specific Meter Chart Discussion
          One of the main reasons for this change in the Meter Chart was that this Meter Chart
             incorporated the most recent month’s Vendor data.
             (1) The chart is dynamic and changes with each measured period.
          Another reason was that the task utilization rate has been modified since the August 14
             meeting.
             (1) The Claims Administrator’s Office (CAO) is attempting to define the accuracy of the task
                 utilization rate today. These figures must be derived from the data provided by the
                 Vendors.
             (2) Because this is extremely important and has such a significant impact, the CAO’s goal is
                 to use extremely detailed and accurate numbers provided by the Vendors. The updated
                 task utilization rate will depend on the Vendor provided information. When the CAO is
                 able to do finalize this, the confidence in the forecast model should be increased
                 significantly.
          Another reason was the changes made to task durations since the August 14 meeting.
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    MEETING NOTES (CONTINUED)
                (1) These task duration changes were made to increase the forecasting accuracy of the
                     model. The CAO is continuing to tweak the task duration associated with individual
                     claims per type per determination notice (Eligible Payable and Eligible No Payment,
                     Denial and Closed, Duplicates and Opt Outs, and Incompleteness Denial) in order to
                     increase the accuracy of the budget forecast model. The CAO will take a sample of 32
                     claims for each claim type for each determination notice type and calculate the task
                     durations using a weighted average calculation. Currently, the CAO is actively working
                     to update the task durations.
                     (a) Two things have increased the claims processing the task durations – 1) the
                          implementation of new, intricate policies and 2) the CAO is processing more
                          complex claims.
                          (i) As additional policies are agreed upon by the Parties and issued by the CAO, the
                               processing of each claim becomes more complex.
                          (ii) Further, whereas in the beginning of the Program claims deemed to be easier
                               (Zone A claims, document complete claims, etc.) were processed first in an
                               effort to get the Program running, the more complex and difficult claims are
                               now being processed, which also increases task duration.
            The blue bar (actual performance) figures on the Meter Chart decreased as related to those
                of the August 14 meeting. This is due to the fact that the August 14 Meter Charts were
                comparing June labor to July production. Since July had more days of production than June,
                the determinations per reviewers were higher in the August 14 Meter Chart than the August
                21 Meter Chart which compared June labor to June production.
            Red hash mark (targets per week) for BEL claims has decreased because it has begun to take
                a significantly longer time to process BEL claims for the reasons previously mentioned. We
                are currently meeting with BEL-processing Vendors to get the most accurate figures possible
                for the task durations associated with the processing of BEL Claims. Further, the larger 32
                claims sample size for modeling task duration should produce more accurate results as well.
                (1) It is currently unclear how significant an effect these changes will have in the model.
                (2) It should also be noted that the same changes in task duration mentioned in reference
                     to BEL Claims and the Accountants will apply to accounting-centric Seafood Claims and
                     BrownGreer.
        IEL Specific Meter Chart Discussion
            Performance decreased while the target increased
      Task utilization Rate and Reviewer Shift Duration
        The task utilization rate of 75% and the FTE 35.5 hours per week are used in different places in
           the model and are calculated apart from each other.
      Differences between QC and Audit
        For BEL, five hours is allotted to each of these tasks on the task duration portion of the reviewer
           model.
        Some information in relation to Quality Control was provided prior to the June 18 meeting.
        The CAO will determine on a more detailed level exactly what function each of these tasks
           performs and any overlap between the two.

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    MEETING NOTES (CONTINUED)
      Appeals as Related to the Review Process
        Some concern was expressed over the five hours allotted to Appeals in the task duration section
          of the reviewer model.
           The CAO will determine exactly what these five hours are spent on.
        Questions were also raised as to the accuracy of the figure stating that 5.8% of claims go
          through the Appeals Process.
           The CAO is working to update these figures, along with the First and Second Pass figures, by
              Friday, August 23.

Questions Unrelated to the Reviewer Model
      Subsistence
        The model from the August 14 meeting had Subsistence costs layered on top of the model,
          whereas the model from the August 21 meeting had these costs, as well as those associated
          with GCG data entry, incorporated into the model.
           Subsistence is an example of policy decisions affecting throughput, as all subsistence notices
               have been put on hold pending policy development. Depending upon the outcome of the
               policy decision, the CAO may need to reevaluate its processing task durations.
               (1) The Vendors are continuing to process subsistence claims even though no notices are
                    being issued. Additionally, the CAO does not direct the Vendors on how to utilize their
                    workforce.
                    (a) Some things clearly have to be halted if related to Court Orders, but the CAO does
                        not interfere with the operational decisions of the Vendors as these are more
                        business judgment decisions.
      BrownGreer IT Costs
        Using estimations from BrownGreer, the CAO was able to break the IT costs out of the model to
          provide additional granularity as to the cost associated with the IT functions.
        Some concern was expressed by BP and its representatives about the $700,000 budget for
          development activities.
           The CAO does not have access to the development processes for BrownGreer, so the CAO
               relies on the data that BrownGreer provides. However, because of the complexity of the
               system, adding to it requires significant time and manpower. A single change in one line of
               code will require numerous additional changes in numerous other areas because it is all
               inter-related.
               (1) The CAO will ask BrownGreer for more information on this in the future, but the CAO
                    does not anticipate receiving more detailed information on this before August 28.
      GCG Overhead
        IT Costs are labeled as Systems and Reporting.
           GCG runs the servers for the database, network support, hardware support, fraud
               databases, internal IT processes, etc.



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    MEETING NOTES (CONTINUED)
               (1) This does not include much development work but more database maintenance and
                    analytics. GCG hosts the hardware infrastructure while BrownGreer runs the software
                    system.
      BG Administrative Costs
        It was noted that the BG Administrative Costs are decreasing. However, no breakout was
          provided as to which specific administrative labor category is decreasing.
           The CAO does not believe that a straight line pro rata reduction across all Administrative
               Cost expenses is appropriate. As fewer claims come into the system, some expense
               categories will decrease while some will likely increase given the nature of those
               administrative functions.
           The decision on staffing for each function performed by each Vendor is left to that Vendor
               itself. Some Vendors do reduce staffing levels based on the models. The CAO does not
               strong-arm the Vendors to staff at a level congruent with the model. However, the CAO
               does discuss the results of the model with the Vendors and allows the Vendor the
               opportunity to justify appropriate staffing levels. However, ultimately, the decisions on
               staffing is left to the Vendors.
      CLEAR
        The CAO will determine exactly what this BG Overhead Cost represents.
      BG CCC vs. GCG Payment Outreach
        Questions were raised as to the difference between the BG CCC and the GCG Outreach Program.
           The BG CCC is in place to offer to claimants access to a representative specifically trained in
               each claim type, providing the claimant with an expert on each claim type, to handle issues
               specific to that particular claim type.
               (1) This team handles the outreach related to curing claim incompleteness, specifically with
                    IEL, which has been a significant portion of IEL processing. This team has a much higher
                    level of expertise in this field than those performing Payment Outreach.
           The GCG Payment Outreach is a team recently developed for the purpose of notifying
               claimants who have had eligibility notices issued that they need to submit a release in order
               to receive their compensation.
               (1) This is a new group because it requires a different skillset, one different from the skillset
                    devoted to knowledge of the document requirements for specific claim types required
                    at the CCC.
      GCG Administrative Costs of Claim
        These costs represent the management labor directly associated with the document
          categorization, data entry, and data capture/claims review. These costs variably related to the
          expected costs for Garden City Group claim review.
      GCG Call Center
        The GCG Call Center is currently modeled at thirty minutes per call – twenty minutes of actual
          call time and ten minutes of wrap up time.
           BP believes that when meeting with GCG, a figure closer to ten minutes per call was
               provided.
           The CAO will follow up with GCG to determine the average time per call.
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    MEETING NOTES (CONTINUED)
           It was noticed that GCG Call Center management costs were around 49% of GCG Call Center
            operator costs.
             As the call volume decreases, the staff is eliminated; however, the permanent core and the
                 individuals with subject matter expertise and institutional knowledge remain. These
                 individuals are generally in a managerial capacity, so this currently represents a high
                 percentage of the costs as related to those of the operators.
      File Audit
        This function performs audits of GCCF claimant documents to be used in the CSSP Portal.
             This includes removing PII and sensitive information unrelated to the claimant and the
                 processing of the claim.
        The CAO anticipates that the file audit will be complete by the end of the year.
        BP questioned which files were being audited. The CAO will follow up with GCG to determine if
            all GCCF files were being audited regardless of whether the claimant filed claim with the CSSP.
             The CAO will confirm the exact scope of this audit.
      Five Percent Contingency Fee
        This contingency was implemented as a margin of error, given the timeframe set forth by Order
            of the Court in revising this budget.
             The CAO anticipates that the process will be significantly refined and the budget will
                 become more accurate over time. Upon the first revision, however, the CAO did not want
                 to put forth a budget forecast that was not worst case scenario.
                 (1) It should be noted that this worst case scenario budget is assuming no magnanimous
                     events, such as a Fifth Circuit Ruling overturning previous Eastern District rulings.
      Turnover and Staff Level Changes
        The CAO has requested all information related to turnover and associated costs from the
            Vendors.
             The CAO has not yet received anything other than a trending percentage which has been
                 provided to BP through a previous data request.
             This is still a priority to the CAO, but the CAO has not been able to acquire this information
                 from the Vendors and incorporate it into the budget forecast model.
                 (1) Once the CAO has this information, it will be incorporated into the model.
      PricewaterhouseCoopers Travel Expenses
        The CAO has asked PwC to come up with a transition plan to allocate a portion of their travelling
            employees to work on the Program remotely.
             Because of this, the CAO anticipates the budget forecast submitted next Wednesday will
                 contain a significant downward trend from the 6.84% used in the current model.
      The CAO does not currently model a high side, a low side, and a middle-of-the-road budget forecast.

Current State of Affairs
      BP acknowledged that the budget provided on August 16 contained the level of detail it desired in
       the budget forecast.

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    MEETING NOTES (CONTINUED)
      BP expressed a desire to be able to make a variance comparison between the budget forecast and
       the actual costs of the Program for a particular month.
        This would allow a comparison of actual costs to the budget and a comparison of the budget
           from one month to the budget of the next month to see where the forecast changed.
            This can be done on a monthly basis.
      Data Dictionary
        The CAO is compiling its data dictionary currently. However, BP will submit a written request to
           the CAO for the information it would like included in the data dictionary, as the PSC may object
           to the sharing of some information contained in it.
      The CAO will begin to maintain a change log for the budget forecast model in an effort to assist BP
       and its representatives in tracking the changes the CAO makes to the model to increase its accuracy.



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September 5, 2013


Maria Travis
BP America Inc., Director of Claims
Gulf Coast Restoration Organization
501 Westlake Park Blvd.
Houston, TX 77079



Dear Maria,



          The Claims Administrator’s Office (CAO) is in receipt of BP’s Proposed Revisions to the
2013 Fourth Quarter budget, a copy of which is attached as Exhibit “A,” submitted at the
September 4th, 2013, Panel Meeting which was assembled pursuant to Magistrate Judge
Shushan’s August 7th, 2013 Court Order “Regarding BP’s Obligation to Fund Claims
Administrator’s Proposed 4th Quarter 2013 Budget”. In its submission, BP lists several proposed
revisions to the CAO’s fourth quarter budget submittal. This letter will address the following: 1)
the confirmation of the CAO’s understanding of those proposed revisions, 2) the establishment
of the CAO’s position regarding each of those revisions, and, 3) where applicable, the
documentation of the budgetary adjustments made by the CAO in the Panel Meeting pursuant to
BP’s recommendations along with the CAO’s revised budget which is attached as Exhibit “B.”
Below are BP’s Proposed Revisions to the Q4 2013 Budget and the CAO’s response.

1. Eliminate unsupported, 99 full-time equivalent (FTE) increase in accountants for BEL
       claims (Estimated Cost Impact of $11.14M)

       The CAO agrees to remove funding for the 99 additional accountants from the Q4 2013
       budget and will revisit this line item in the Q1 2014 budget pending additional analyses. As
       discussed in the Panel Meeting, the CAO stands ready to perform Time and Motion studies
       and will share the results of these studies as appropriate with BP to further validate data in




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                                        www.deepwaterhorizoneconomicsettlement.com
	  
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                             the budget forecast model and in any adjustments to the 99 accountant figure for the Q1 2014
                             budget submittal.

                             This concession results in an $11.16 million reduction to the Q4 2013 budget.1

2. Increase BEL accountant productivity (Estimated Cost Impact of $12.97M)

                             While increasing the productivity of BEL accountants would possibly result in a decrease in
                             claim backlog, this would have no impact on the fourth quarter budget forecast as submitted
                             by the CAO.

                             As discussed in the Panel meeting, while increasing the productivity of the Program
                             accountants would result in an overall savings to the Program, there would be no impact to
                             the Q4 2013 budget as there is a significant backlog of claims to be processed. Savings will
                             be achieved in future budgets as the backlog is decreased and an FTE reduction strategy is
                             employed.2

                             The CAO will continue to gather detailed information and stands ready to perform Time and
                             Motion studies on the accounting review process to validate the accuracy of current model
                             drivers. The CAO will also continue to work with the Program accountants and drive
                             towards a more efficient operation for more expedient claims processing and for cost savings
                             to the Program.

                             There is no cost savings to the Q4 2013 budget associated with this strategy.

3. Dramatically reduce projected Q4 Seafood claim staffing to reflect CAO’s projected
                             elimination of claim backlog (Estimated Cost Impact of $8.55M)

                             The CAO agrees to reduce the number of FTEs performing Seafood reviews in the budget
                             forecast from 205 FTEs to 100 FTEs.
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
  The figure presented by BP and presented as a concession in the Panel meeting was $11.14 million, but upon
further analysis of the budget model, the number is actually $11.16 million.
2
  The CAO acknowledges that an increase in accountant reviewer productivity may help reduce the cost of the
Program on a long term basis by lowering the claim backlog more rapidly and thus decreasing the overall duration
of the Program. However, for purposes of the Q4 2013 budget forecast, BEL accountant productivity is not
relevant.
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                             The budget model forecasted that 205 Seafood reviewers were required to achieve desired
                             Seafood processing targets. Rather than increasing Seafood review staff as dictated by the
                             budget model to 205 total FTEs, the CAO determined that maintaining the current staffing
                             level of 100 FTEs would be sufficient.

                             Given that the processing of Seafood claims is nearing an end, continuous evaluations of the
                             FTE count dedicated to Seafood processing will be performed as more detailed studies are
                             conducted by the CAO, and reductions will be employed in future quarters as reasonably
                             appropriate.

                             This concession results in a $5.47 million reduction to the Q4 2013 budget.3

4. Adjust task utilization rate for non-BEL claim types to equal BEL claim utilization rate
                             (after impact of revision 3) (Estimated Cost Impact of $1.31M)

                             The CAO does not currently have adequate information to determine at exactly what level
                             the task utilization rate for each claim type should be set. Given the effect on staffing levels
                             and claim backlog, the CAO cannot unilaterally adjust task utilization rates without
                             additional information and further discussion.

                             The CAO stands ready to perform Time and Motion studies in its operational review to
                             determine the appropriate task utilization rates.                                                                                                                                                                      Once these additional analyses are
                             performed and accurate information is gathered, the CAO will address the task utilization
                             rate of each claim type as reasonably appropriate in the Q1 2014 budget submittal.

5. Only perform GCCF file audit activity for those GCCF claimants filing CSSP claims
                             (Estimated Cost Impact of $1.26M)

                             The decision to perform a file audit on all GCCF files was a decision made pursuant to
                             Section 4.4.2 of the Settlement Agreement.



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
3
 	  The figure presented by BP and presented as a concession in the Panel meeting was $5.1 million, but upon further
analysis of the budget model, the number is actually $5.47 million.	  
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                             Per this Section, in November 2012, the CSSP sent each GCCF claimant a letter pursuant to
                             Section 4.4.2 of the Settlement Agreement, discussing how the claimant could see all
                             documents he or she had submitted previously in the GCCF and how to determine what
                             additional documents the claimant needed to submit to the CSSP. The letter explained that
                             the claimant would have immediate access to all documents on file, as soon as he or she
                             entered the GCCF claim number into the CSSP’s online filing system.

                             The ability of the claimant to instantly access all previous GCCF information was viewed as
                             preferable to other less favorable options.4

                             The CAO recommends continuing with the proactive conversion of these GCCF files, which
                             will be complete in November of this year.

6. Eliminate BrownGreer IT development spending until further requested information is
                             provided (Estimated Cost Impact of $1.95M)

                             In reality, this proposed revision would downsize the BrownGreer IT development staff until
                             a project-level budget has been produced by BrownGreer, submitted to the CAO, and
                             finalized in discussions by BP at which point the BrownGreer IT staff would be required to
                             “upsize” to perform the projects itemized in that budget. This would have a largely adverse
                             impact on the Program, as we have a continuing need to make modifications to the systems
                             for policy and process changes, efficiency improvements, and IT security.

                             The CAO has requested information concerning the ongoing projects performed by the
                             BrownGreer IT development department; however, given the time constraints of the budget
                             revision process, BrownGreer has not been able to compile the detailed project-level budget
                             forecasts at this point.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
4
  The alternative to the approach adopted by the CAO included the examination of each GCCF claim and its
associated files to determine what additional documentation that claimant was required to file in order to satisfy the
requirements for each of the twelve claim types as dictated by the Settlement Agreement. These additional
documentation requirements would then be relayed to the claimant. This alternative was viewed as inferior to the
approach adopted by the CAO for two reasons: 1) it was significantly more labor-intensive and 2) it resulted in a
delay between the time when the claimant filed with the CSSP and when that claimant could view his or her claim
file online.
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        The CAO therefore recommends this issue be postponed until further discussions related to
        the Q1 2014 budget forecast, at which point the required information will be available to the
        CAO and provided to BP as appropriate.

7. Adjust BG and GCG call center staffing levels based on 10 minute call duration
        (Estimated Cost Impact of $2.01M)

        Garden City Group Call Center average call time is currently at ten minutes, as indicated in
        the budget forecast model. These calls include standard inbound and outbound calls that
        involve similar dialog and skillsets for each call.

        BrownGreer’s Claimant Communication Center (CCC) handles additional functions beyond
        inbound and outbound calls to include claim research, claim status updates and summaries,
        Portal navigation assistance, and resolution of escalated claimant concerns. The CCC also
        collaborates with the Claimant Assistance Centers (CACs) to schedule claimant visits,
        facilitate claim filing and document submission, and resolve additional questions related to
        the claims process.

        Unlike the Garden City Group Call Center budget forecast, the BG ten minute call time does
        not directly affect the budget because the BrownGreer CCC call staff is carrying out
        additional functions; therefore, no direct correlation exists between this ten minute call time
        and the BrownGreer CCC budget forecast.

        The CAO believes that the budget forecast model accurately reflects the appropriate call
        activity for the Garden City Group Call Center and the BrownGreer Claimant
        Communication Center.

8. Reduce Q4 BG and GCG administrative costs in line with budgeted Q4 labor costs
        (after impact of revision 3 and 4) (Estimated Cost Impact of $1.25M)

        Similar to previous Proposed Revisions related to these administrative costs, the CAO needs
        more information before it can reasonably make informed decisions related to the
        administrative costs of BrownGreer and Garden City Group.
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                             While its operational review is performed and additional information is gathered, the CAO
                             recommends this issue be postponed until further discussions related to the Q1 2014 budget
                             forecast at which time the results of the analysis will be available.

9. Reduce unallocated contingency fee from 5% to 1%, fix calculation errors5, and
                             calculate off reduced proposed budget amounts (Estimated Cost Impact of $5.23M)

                             The CAO maintains that some contingency is essential given the possibility that
                             unforeseeable incidences, such as the Freeh investigation, will undoubtedly arise. These are
                             particularly time and cost intensive from a management perspective. For these reasons, some
                             contingency is necessary.

                             Despite this, the CAO has conceded to lowering the contingency from 5% of variable costs to
                             2.5% of variable costs in a good faith effort to compromise with BP.

                             This concession results in a $3.44 million budget reduction to the Q4 2013 budget.6

10. Reduce labor rates to address the unknown and undisclosed mark-ups (Estimated Cost
                             Impact : Unquantifiable)

                             As stated in our August 28, 2013 letter, Contracts have been executed with the Vendors
                             including labor rates for Vendor employees and 1099 contract employees. BP was present at
                             these negotiations, which were the appropriate for such discussions.                                                                                                                                                   Prior to Contract
                             execution, BP could have requested lower rates for these 1099 employees or to treat them as
                             Other Direct Costs, which are pass-through expenses. We now must honor those Contracts
                             and pay the rates therein. Therefore, there is no possible concession in this area.

11. Reduce BG administrative budget (Estimated Cost Impact: Unquantifiable)




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
5
  The formula oversights in cells K42 and M42 of tab [Q4 CSSP] have been corrected so as to not include any
additional fixed costs in the calculation of the contingency. This resulted in approximately a $45,000 (0.035%)
decrease in the total budget forecast.
6
  The figure presented to BP in the Panel meeting was $2.62 million, but upon further analysis of the budget model,
due to reductions in variable costs in other concessions, the number is actually $3.44 million.
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                             Similar to Proposed Revision number 8, the CAO needs to conduct additional studies before
                             it can reasonably make an informed decision related to the administrative costs of
                             BrownGreer.

                             Until its full operational review is performed and additional information is gathered, the
                             CAO recommends this issue be postponed until further discussions related to the Q1 2014
                             budget forecast.

                             In summary, and in response to BP’s proposed revisions to the Q4 2013 budget, the CAO has
made a total of $20.07 million in reductions to the Q4 2013 proposed budget, reducing the
overall budget to $111.16 million.7 It should also be noted that this represents a reduction of
$19.16 million from the Q3 2013 $130.32 million budget.                                                                                                                                                                                             The remaining items with the
exception of item 10, Labor Rate Reduction, will require further analysis, which could not be
conducted in the timeframe allotted for the Q4 2013 budget revision process.

                             Indeed, the CAO has requested additional funding, as part of the Claims Administrator’s line
item in its Q4 2013 budget submittal (an increase of $1.44 million), to hire staff in order to
conduct the Time and Motion studies referenced in this letter. And as explained in the Panel
Meeting, we anticipate that the first analysis will take 60 days to complete from the date we hire
the additional staff. In the Panel Meeting, Maria Travis stated that BP had no objection to this
line item increase as part of our analysis. While we understand that other items in the budget are
still in dispute, we have sent an email yesterday asking BP to respond by email that BP does
agree to this particular budget line item increase so that we may immediately add the necessary
staff to meet the scope and schedule requirements of these studies. We ask that BP respond
quickly as the Q1 2014 budget submittal is in less than 60 days and delays in adding the required
staffing will impact our ability to produce the studies needed for the Q1 2014 budget forecast.

                             Also, as discussed in the Panel meeting, the CAO continues to work with BP towards a more
detailed budget process supported by further analysis including the Time and Motion studies as



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
7
  The reduction of $18.94 was presented at the Panel meeting but has increased to $20.07 million due to various
factors as discussed in footnotes 1, 3 and 6.
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part of the ongoing operational review of the Program. As part of this process, we will work with
BP to identify additional studies and detailed data needed for future budget forecasts.




Sincerely,




David Odom
CEO

Cc:        Magistrate Judge Shushan
           Stephen Herman
           James Roy
           Keith Moskowitz
           Patrick Juneau
           Bob Levine
           Kirk Fisher
           	  
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